                      Case 13-11831-BLS                     Doc 1210             Filed 04/05/21                Page 1 of 3



                                        OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
                                       POST-CONFIRMATION QUARTERLY SUMMARY REPORT

                  This Report is to be submitted for all bank accounts that are presently maintained by the post confirmation debtor.


Debtor's Name: TPOP, LLC                                       Bank: Huntington National Bank

Bankruptcy Number: 13-11831 (BLS)                              Account Number: See Page 3 Account Schedule

Date of Confirmation: March 23, 2015                           Account Type: Checking/Deposit

Reporting Period (month/year): March 2021

           Beginning Cash Balance:                                            $1,813,829

All receipts received by the debtor:

           Cash Sales:                                                                   $0

           Collection of Accounts Receivable:                                            $0

           Proceeds from Litigation (settlement or otherwise):                           $0

           Sale of Debtor's Assets:                                                      $0

           Interest on Bank Deposits                                                   $45

           Total of cash received:                                                     $45

Total of cash available:                                                                       $1,813,874

Less all disbursements or payments (including payments made under the confirmed plan) made by the Debtor:

           Disbursements made under the plan, excluding the administrative
                    claims of bankruptcy professionals:                                                   $0

           Disbursements made pursuant to the administrative claims of
                    bankruptcy professionals:                                                             $0

           All other disbursements made in the ordinary course:                                      $2,096

           Total Disbursements                                                                                        $2,096

Ending Cash Balance                                                                                              $1,811,777
                                                                                              Variance (s/b=0)          ($0.00)


Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true and correct
to the best of my knowledge and belief.

                                     //s//
Date                                 Name/Title: Agatha Serda, Vice President

Debtor: TPOP, LLC
Case Number: 13-11831 (BLS)




                                                                                                               Post-Confirmation Report Page 1
                                                                                                20-03-31 TPOP- Post-Confirmation Report v1.xlsx
                    Case 13-11831-BLS         Doc 1210    Filed 04/05/21      Page 2 of 3




                                         CASH BASIS                                   Month
                                          ASSETS                                     3/31/2021
        Cash (Unrestricted)                                                             $1,811,777
        Cash (Restricted)                                                                         0
        Accounts Receivable (Net)                                                                 0
        Inventory                                                                                 0
        Notes Receivable                                                                          0
        Prepaid Expenses                                                                          0
        Other (Attach List)                                                                       0
        Total Current Assets                                                             $1,811,777
        Property, Plant & Equipment
        Real Property & Improvements                                                              0
        Machinery & Equipment                                                                     0
        Furniture, fixtures & Office Equipment                                                    0
        Vehicles                                                                                  0
        Leasehold Improvements                                                                    0
        Less: Accumulated Depreciation/Depletion                                                  0
        Total Property, Plant & Equipment                                                         0
        Due from Affiliates & Insiders                                                            0
        Other (Attach List)                                                                       0
        Total Assets                                                                     $1,811,777
        Liabilities Not Subject to Compromise (Postpetition Liabilities)
        Accounts Payable                                                                          0
        Taxes Payable                                                                             0
        Notes Payable                                                                             0
        Professional Fees                                                                         0
        Secured Debt                                                                              0
        Due to Affiliates & Insiders                                                              0
        Other (Mid point admin and tax claims per Plan, less payments)                    7,069,000
        Total Postpetition Liabilities                                                   $7,069,000
        Liabilities Subject to Compromise (Pre-petition Liabilities)
        Secured Debt - Per Plan                                                             100,000
        Priority Debt - Per Plan                                                                  0
        Unsecured Debt - Per Plan - mid point estimate and DOL claim                     34,846,784
        Other (PBGC Claim) - Per Plan, less claims payments                              89,805,589
        Total Pre-petition Liabilities                                                  124,752,372
        Total Liabilities                                                              $131,821,372
        Equity
        Common Stock                                                                              0
        Retained Earnings (Deficit)                                                    -130,009,595
        Total Equity (Deficit)                                                         -130,009,595
        Total Liabilities & Owners' Equity                                               $1,811,777

TPOP, LLC                                                                    Post-Confirmation Report Page 2
Case No. 13-11831 (BLS)                                       20-03-31 TPOP- Post-Confirmation Report v1.xlsx
                     Case 13-11831-BLS        Doc 1210       Filed 04/05/21      Page 3 of 3


TPOP, LLC
U.S. Trustee Quarterly Report Detail
Quarter Ended: March 31, 2021
13-11831 (BLS)
                                                 TPOP             TPOP              TPOP             TPOP
                                               Operating         Reserve           Reserve
                                                #7397             #7368            Closed            Total
Opening balance January 1, 2021:                 $4,218.13     $1,809,610.92            $0.00     $1,813,829.05

Total Receipts                                         0.00             44.62             0.00              44.62

Total Cash Available                             $4,218.13     $1,809,655.54            $0.00     $1,813,873.67

I. Plan Disbursements, x - BK Professionals            0.00              0.00             0.00               0.00

II. Plan Disbursements - BK Professionals              0.00              0.00             0.00               0.00

III. Ordinary Course Disbursements                 2,096.34              0.00             0.00          2,096.34

IV. Intra-Company Transfers                            0.00              0.00             0.00               0.00

Ending Balance                                   $2,121.79      $1,809,655.54           $0.00     $1,811,777.33

Balance per Bank                                 $2,121.79      $1,809,655.54           $0.00     $1,811,777.33
variance (s/b = 0)                                     0.00               0.00            0.00              0.00




TPOP, LLC                                                                               Account Schedule Page 3
Case No. 13-118131 (BLS)                                           20-03-31 TPOP- Post-Confirmation Report v1.xlsx
